            Case 1:21-cr-00159-ABJ Document 42 Filed 05/26/21 Page 1 of 2




                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA                     :
                                             :
       v.                                    :
                                             :
CLEVELAND GROVER                             :       Criminal No. 1:21-CR-159-ABJ
MEREDITH, JR.                                :
                                             :
                                             :
                      Defendant.             :

   NOTICE TO THE COURT REGARDING PROPOSED REDACTIONS TO THE
PENDING ORDER AND MEMORANDUM OF OPINION ON DEFENDANT’S MOTION
 TO REVOKE MAGISTRATE JUDGE’S ORDER OF DETENTION PENDING TRIAL
              AND TO SET NEW CONDITIONS OF RELEASE

       COMES NOW the United States of America, by and through Assistant United States

Attorney Anthony Franks, hereby notifies this Court that it does not object to the Court’s proposed

redactions to the pending order and memorandum and opinion on Defendant’s Motion to Revoke

Magistrate Judge’s Order of Detention Pending Trial and to Set New Conditions for Release.

                                             Respectfully submitted,

                                             CHANNING D. PHILLIPS
                                             Acting United States Attorney
                                             DC Bar No. 415793


                                      By:    /s/ Anthony L. Franks
                                             ANTHONY L. FRANKS
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         Case 1:21-cr-00159-ABJ Document 42 Filed 05/26/21 Page 2 of 2




                               CERTIFICATE OF SERVICE


       On this 26th day of May 2021, a copy of the foregoing was served upon all parties listed

on the Electronic Case Filing (ECF) System.

                                               /s/ Anthony L. Franks
                                               ANTHONY L. FRANKS
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